       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                         JUDGMENT RENDERED AUGUST 23, 2024



                                       NO. 03-22-00464-CV


                                Daniel James Caldwell, Appellant

                                                  v.

           The State of Texas for the Protection of Jennifer Zimmerman, Appellee




   APPEAL FROM COUNTY COURT AT LAW NO. 4 OF WILLIAMSON COUNTY
             BEFORE JUSTICES BAKER, KELLY, AND SMITH
   AFFIRMED IN PART; DISMISSED IN PART -- OPINION BY JUSTICE SMITH




This is an appeal from the order signed by the trial court on July 15, 2022. We dismiss

Caldwell’s original habeas application for want of jurisdiction. Having otherwise reviewed the

record and the parties’ arguments, the Court holds that there was no reversible error in the trial

court’s order. Therefore, the Court affirms the trial court’s order in all other respects. The

appellant shall pay all costs relating to this appeal, both in this Court and in the court below.
